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13                           UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
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     CHRISTOPHER HOBBS,                           Civil No. 2:18-cv-00480-PSG-E
17
                       Plaintiff,                 PLAINTIFF’S ADVANCE NOTICE
18
                                                  OF WITHDRAWAL OF MOTION
19                     v.                         TO STRIKE CERTIFICATION AND
                                                  SUBSTITUTION
20
     RANDALL DEVINE, an individual;
21   THE UNITED STATES OF                         Honorable Philip S. Gutierrez
     AMERICA; AND DOE
22                                                Date: September 24, 2018
     DEFENDANTS 1-50,
23                                                Time: 1:30 p.m.
                    Defendants.                   Crtrm: 6A
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Case 2:18-cv-00480-PSG-E Document 25 Filed 09/12/18 Page 2 of 2 Page ID #:158




 1         Plaintiff Christopher Hobbs (“Hobbs”) commenced this action on January
 2   18, 2018 [ECF 1]. On July 11, 2018, Hobbs brought the present Notice of Motion
 3   and Motion to Strike Certification and Substitution, following a meet and confer
 4   conference call that occurred on July 9, 2018, pursuant to local rule 7-3 [ECF 20].
 5   On September 4, 2018, Defendants United States of America (“USA”) and Randall
 6   Devine (“Devine”) (collectively, “Defendants”) filed Defendants’ Opposition to
 7   Plaintiff’s Motion to Strike Certification and Substitution. [ECF 23].
 8         Plaintiff’s Motion to Strike Certification and Substitution is withdrawn.
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     Respectfully Submitted,

11   Dated: September 12, 2018              The Law Offices of Ian Wallach, PC
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                                            _/s/ Ian Wallach________________
13                                          Ian Wallach
14                                          Attorney for plaintiff

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